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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF ALABAMA
                             NORTHERN DIVISION

MARCOS BACA, et al.,                         )
                                             )
      Plaintiffs,                            )
v.                                           )    CASE NO. 2:13-cv-0301-MEF
                                             )
CHOWEL WELDPARTS, INC., et al.,              )
                                             )
      Defendants.                            )

                                        ORDER

      Upon consideration of the defendants' Motions to Dismiss (Doc. #21 & #23) filed on

July 5, 2013, it is hereby ORDERED as follows:

      1. The plaintiff shall file a response which shall include a brief and any evidentiary

materials on or before July 23, 2013.

      2. The defendants may file a reply brief on or before July 30, 2013.

      DONE this the 9th day of July, 2013.



                                                       /s/ Mark E. Fuller
                                                 UNITED STATES DISTRICT JUDGE
